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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,                                       CASE NO. 19-CR-20141-JLK-2

                Plaintiff,

 vs.

 VICTOR ROJAS,

             Defendant,
 _______________________________/

                      DEFENDANT, VICTOR ROJAS’
       MOTION FOR DECLARATION OF INDIGENCY AND FOR LEAVE TO
  PROCEED IN FORMA PAUPERIS WITHOUT PAYMENT OF CLERK’S FILING FEES
                      AND THE COSTS OF APPEAL

        COMES NOW, Defendant, VICTOR ROJAS, by and through his undersigned counsel,

 and presents herewith his Motion for Declaration of Indigency and for Leave to Proceed In Forma

 Pauperis Without Payment of the Clerk’s Filing Fees and the Costs of Appeal, and states as

 follows:

        1.      On August 17, 2020, the Defendant was sentenced to a term of 70 months

 imprisonment followed by 3 years supervised release. [D.E. 77] (The Judgment was entered on

 August 18, 2020. [D.E. 78])

        2.      Subsequently on August 20, 2020, an Amended Judgment was entered, therein

 providing that the sentence imposed shall run concurrently with the sentence to be imposed in

 Southern District of New York Case No. 1:19-00091-CR-DLC. [D.E. 81]

        3.      The Defendant is without the funds necessary to pay the Clerk’s filing fees, nor to

 bear the costs for his appeal to the Eleventh Circuit Court of Appeal.
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        4.      As a result of the difficulty in obtaining the financial affidavit of the Defendant due

 to the restrictions in place at FDC Miami, where the Defendant is presently housed, said financial

 affidavit will be furnished when available.

        5.      Therefore, the Defendant files this motion to allow him to proceed in forma

 pauperis Without Payment of the Clerk’s Filing Fees and the Costs of Appeal.

        6.      A copy of this motion is being served by United States Mail upon Victor Rojas

 (Reg. No. 18114-104) at FDC Miami, 33 N.E. 4th Street, Miami, Florida 33132.

        7.      This motion is filed in the utmost of good faith and in the interest of justice, and is

 not the result of a lack of due diligence.

        WHEREFORE, Defendant, VICTOR ROJAS, respectfully prays that this Honorable

 Court enter its order granting the within Motion for Declaration of Indigency and for Leave to

 Proceed In Forma Pauperis Without Payment of Clerk’s Filing Fees and the Costs of Appeal.

                                                       Respectfully submitted,

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                                                       (Counsel for Defendant, Victor Rojas.)

                                                       /s/ Ana M. Davide_____
                                                       Ana M. Davide, Esq.


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 24th day of August, 2020, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached service List in the manner specified, either via transmission of Notices of Electronic Filing
                                                   2
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 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

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                                                      /s/ Ana M. Davide_____
                                                      Ana M. Davide, Esq.


                                          SERVICE LIST

                           United States of America v. Victor Rojas
                                 Case No. 19-CR-20141-JLK-2
                   United States District Court, Southern District of Florida

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